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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY




IN RE: JOHNSON & JOHNSON TALCUM
POWER PRODUCTS MARKETING, SALES                       No. 3:16-md-02738-MAS-RLS
PRACTICES, AND PRODUCTS LIABILITY
LITIGATION




      DECLARATION OF JESSICA DAVIDSON IN SUPPORT OF
   DEFENDANTS JOHNSON & JOHNSON AND LLT MANAGEMENT,
    LLC’S MEMORANDUM OF LAW IN SUPPORT OF MOTION TO
    EXCLUDE THE OPINIONS OF DRS. DAVID KESSLER, LAURA
       PLUNKETT, WILLIAM SAGE AND GEORGE NEWMAN

I, Jessica Davidson, declare as follows:

      I am an attorney and a partner with the law firm Skadden, Arps, Slate,

Meagher & Flom LLP, counsel for Defendants Johnson & Johnson and LLT

Management, LLC (hereafter, “Defendants”) in the above-captioned matter. The

facts stated in this Declaration are true of my own personal knowledge. I submit this

Declaration in Support of Defendants’ Memorandum of Law in Support of Motion

to Exclude the Opinions of Drs. David Kessler, Laura Plunkett, William Sage and

George Newman.
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1.    Attached hereto as Exhibit 1 is a true and correct copy of relevant excerpts of

the April 12, 2018 trial transcript in Russell v. Janssen Pharmaceuticals, Inc., No.

150500362 (Pa. Ct. Com. Pl.).

2.    Attached hereto as Exhibit 2 is a true and correct copy of the transcript of the

deposition of David A. Kessler in In re Davol Inc./C.R. Bard, Inc. Polypropylene

Hernia Mesh Product Liability Litigation, MDL No. 2846 (S.D. Ohio, Jan. 31,

2020).

3.    Attached hereto as Exhibit 3 is a true and correct copy of the Amended Report

of David A. Kessler, November 15, 2023, in this case.

4.    Attached hereto as Exhibit 4 is a true and correct copy the Third Amended

Report of Laura M. Plunkett, May 28, 2024, in this case.

5.    Attached hereto as Exhibit 5 is a true and correct copy of the transcript of the

deposition of Laura M. Plunkett, December 21, 2023, in this case.

6.    Attached hereto as Exhibit 6 is a true and correct copy of Lloyd v. Johnson &

Johnson, No. BC628228 (JCCP No. 4872) (Cal. Super. Ct.) (Plaintiff Eva

Echeverria only).

7.    Attached hereto as Exhibit 7 is a true and correct copy of the Amended Report

of William Sage, November 15, 2023, in this case.

8.    Attached hereto as Exhibit 8 is a true and correct copy of the transcript of the

deposition of William M. Sage, September 23, 2021, in this case.



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9.    Attached hereto as Exhibit 9 is a true and correct copy of the transcript of the

deposition of George Newman, May 15, 2024, in this case.

10.   Attached hereto as Exhibit 10 is a true and correct copy of the Report of

George Newman, November 15, 2023, in this case.

11.   Attached hereto as Exhibit 11 is a true and correct copy of the transcript of

the deposition of William M. Sage, April 1, 2024, in this case.

12.   Attached hereto as Exhibit 12 is a true and correct copy of the transcript of

the deposition of Laura M. Plunkett, August 10, 2021, in this case.

13.   Attached hereto as Exhibit 13 is a true and correct copy of the transcript of

the deposition of Laura M. Plunkett, December 19, 2018, in this case.

14.   Attached hereto as Exhibit 14 is a true and correct copy of the transcript of

the deposition of David A. Kessler, April 8, 2024, in this case.

      I certify under penalty of perjury that the foregoing is true and correct.



Dated: July 23, 2024
                                              Jessica Davidson




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